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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NORTH DAKOTA
                                 SOUTHWESTERN DIVISION



Richard Brakebill, Deloris Baker, Dorothy
Herman, Della Merrick, Elvis Norquay, Ray
Norquay, and Lucille Vivier, on behalf of
themselves,
               Plaintiffs,

                                                Civil No. 1:16-cv-8
       vs.

Alvin Jaeger, in his official capacity as the
North Dakota Secretary of State,
               Defendant.




                 Plaintiffs’ Corrected Memorandum in Support of
  Second Motion for Preliminary Injunction and Response to Defendant’s Motion to
                          Dissolve Preliminary Injunction
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                             I. PRELIMINARY STATEMENT.

     Before the 2016 election, this Court enjoined Defendant from implementing the most

restrictive voter ID laws in the nation because they would have a disproportionate and

negative impact on the voting rights of Native Americans. This Court ordered a “safety net”

for those voters who could not produce the required ID at their polling place with

reasonable effort. During the 2016 election, many North Dakota voters, including

thousands of Native Americans, relied on a “fail-safe” mechanism ordered by this Court in

order to vote—they executed an affidavit swearing under penalty of perjury that they were

qualified electors, in lieu of producing the voter ID required by House Bill 1332 (“HB

1332”) and House Bill 1333 (“HB 1333”). Defendant is now asking the Court to dissolve its

injunction, claiming new legislation, House Bill 1369 (“HB 1369”), has cured the defects in

HB 1332 and 1333 while also providing the safety net this Court directed. Defendant is

wrong.

     Contrary to Defendant’s assertions, HB 1369 still has a discriminatory effect. HB 1369

still requires voters to have one of the same forms of ID in order to vote. Thus, any voter

who lacked the ID required under HB 1332 and 1333 will also lack ID under HB 1369. In

2016, when this Court issued its injunction, 23.5% of Native Americans did not have a

qualifying ID. Today, 19% of Native Americans still lack qualifying ID. Only 64.6% of Native

Americans possess a driver’s license that satisfies the requirements of HB 1369 – whereas

the percentage for non-Native Americans is over 20% higher (86.4%). Furthermore, the

“set aside” ballot process Defendant touts as a “fail-safe” for those unable to obtain the

required ID is just lip service. It will not help anyone who lacks the means to obtain a

qualifying ID to cast a vote. The handwriting is clear: under HB 1369, thousands of Native

Americans and other citizens will be denied their right to vote in 2018. Plaintiffs

respectfully request that the Court deny Defendant’s Motion to Dissolve (“Motion”) its prior

injunction and enter a revised preliminary injunction that applies to HB 1369.



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       A. HB 1369 is just as restrictive as the prior ID law and fails to provide a “fail-
       safe” mechanism
     In November 2016, more than 16,000 North Dakota voters used the “fail-safe”

procedure adopted by this Court. These people would not have been able to vote absent the

Court’s order. In response, the Republican-controlled Legislature, apparently still fearing a

strong Native American turnout could tip a close election to a Democrat, set out to pass a

new law that would reinstate the same obstacles to voting as HB 1332 and 1333. In April

2017, the Legislature passed HB 1369, which maintains HB 1332’s and 1333’s requirement

that all voters must produce one of a limited set of IDs in order to qualify to vote.

     As noted above, despite Defendant’s claims, the discriminatory effect of HB 1369 is

the same. Defendant claims HB 1369 allows voters to use certain documents reflecting

identification information to supplement the required voter IDs, and this resolves the

problems with HB 1332 and 1333. It does not. Of the Native Americans that lacked a valid

ID, 48.7%, or 2,305, do not have any of the supplemental documents allowed under the law,

and lack the resources to get them. Consequently, under HB 1369, thousands of Native

Americans still will not be able to produce the required identification information.

     Defendant also asserts HB 1369 contains a “fail-safe” by establishing a “set-aside”

process for those voters who show up at the polls without the required IDs. Under this

procedure, a voter is allowed to mark a ballot that is literally set aside. This ballot will only

be counted if the voter can produce a satisfactory ID at the polling place before the polls

close on Election Day, or at a state office within six days of the election. Defendant claims

this “set-aside” procedure is a better “fail-safe” mechanism for disproportionately

burdened voters than the affidavit procedure this Court adopted in its injunction.

     However, HB 1369’s “set-aside” process provides no safety net at all for North Dakota

voters who are unable to produce the required ID information. Otherwise qualified voters

who, because of their lack of financial and other resources, cannot produce the required

voter ID when they appear to vote at a polling place, will similarly not be able to produce


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the required ID within six days. Defendant not only recognizes this fact, but is indeed

relying upon it. In an email to Cass County Auditor Michael Montplaisir, Deputy Secretary

of State Jim Silrum wrote: “As for the set-aside ballots, I hope the fact that many individuals

who cast them will not likely come into your office later to verify their qualifications will put

some of the fears to rest about long lines outside your office in the six days after the election.” 1

Instead of a true safety net, the set-aside procedure is actually a cynical ruse that leaves a

voter with the false impression that his or her vote will be counted and will affect the final

outcome, when in truth it will simply be discarded within a week.

        A. The case for injunctive relief remains
       In support of their previous motion for a preliminary injunction, Plaintiffs submitted

compelling and undisputed evidence regarding the numerous severe burdens Native

Americans living in North Dakota face, including discrimination, dire poverty, low levels of

education, little or no access to transportation, and limited or no access to housing. Because

of this, this Court found HB 1332 and 1333 would impose disproportionate burdens on

Native Americans, and that Plaintiffs were likely to prevail at trial on their Equal Protection

Clause claim.

       Two years later, the situation remains the same. With this Response and Motion,

Plaintiffs are presenting updated evidence regarding the socioeconomic status of Native
Americans in North Dakota, and the burdens they face in trying to comply with the extreme

voter ID requirements of HB 1369. Today, the case for injunctive relief is just as strong as it

was in 2016, when the Court issued its injunction. For example, in 2015, Drs. Barreto and

Sanchez found that 23.5% of Native Americans lacked qualifying ID, and today it is still

19%.

       Today, as in 2016, Defendant has no evidence that justifies its suppressive law.


   1
    E-mail from Jim Silrum, Deputy of Secretary of State, to Michael Montplaisir, Cass
County Auditor (Jan. 18, 2017, 2:29 PM) (attached as Exhibit 7) (emphasis added).

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Defendant harps about a theoretical possibility of voter fraud arising from the use of an

affidavit-based “fail-safe” mechanism, but this is simply speculation and fear-mongering.

The undisputed fact is that North Dakota used the affidavit “fail-safe” process for many

years without any voter fraud, and Defendant repeatedly acknowledged that North Dakota

had no voter fraud. Defendant has no evidence that any voter fraud problem exists in North

Dakota, or that there is any crisis of confidence in North Dakota’s electoral system due to

fears about voter fraud. The system worked well before the enactment of HB 1332 and

1333, and it worked well in 2016 after this Court issued its injunction. There is no need for

HB 1369, and no justification for it.

       For all these reasons, which are discussed below, Plaintiffs respectfully urge this

Court to retain its previous injunction and to grant preliminary injunctive relief under both

Section 2 of the Voting Rights Act and the Equal Protection Clause of the U.S. Constitution.

II. NORTH DAKOTA’S NEWLY ENACTED VOTER ID LAW THAT FAILS TO PROVIDE A
    FAIL-SAFE MECHANISM FOR VOTERS LACKING THE REQUIRED ID FOLLOWS A
    PATTERN OF DISCRIMINATION AGAINST NATIVE AMERICANS

        A. North Dakota Historically Has Had Voter-Friendly Election Laws and No
           Voter Fraud Problem.
       Until the 2014 election, North Dakota was a voter friendly state. Prior to enactment of

HB 1332, North Dakota used small voting precincts where election boards and poll workers

typically knew the voters. In rare cases where a poll clerk did not know a voter, the clerk

could ask for various forms of ID. 2 If a voter could not provide ID, the voter could still cast a

ballot through employment of “fail-safe” mechanisms: (1) the poll clerk could personally

vouch for the voter, or (2) the voter could execute an affidavit swearing under penalty of

   2  Acceptable types of identification were a driver’s license, non-driver’s license ID card,
U.S. passport, ID card from a federal agency, an out of state driver’s license or non-driver’s
ID card, or an ID card issued by a tribal government, a valid student ID card, a military ID
card, a utility bill dated 30 days before Election Day, including cell phone bills and student
housing bills (online printouts were acceptable) and a change of address verification letter
from the U.S. Postal Service. Doc. 50 at 2.

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perjury that he or she was a qualified elector in the precinct. N.D Cent. Code §16.1-05-

07(3), amended by H.B. 1332, 63rd Leg. Assemb., Reg. Sess. § 5 (2013). As detailed in Drs.

Matthew A. Barreto and Dr. Gabriel R. Sanchez’s second statistical survey of North Dakota

voters (“2nd Barreto/Sanchez Survey”), Native Americans disproportionately relied on

these fail-safe mechanisms. Barreto Decl., attached as Exhibit 1, ¶11(h); Exhibit 2.

     Under this system there was virtually no voter fraud as the Secretary of State

recognized in 2006. Order Granting Pls.’ Mot. For Prelim. Inj. 22, ECF No. 50. Similarly, this

Court concluded there “is a total lack of any evidence to show voter fraud has ever been a

problem in North Dakota.” Id. (emphasis added).

       B. In 2011, The North Dakota Legislature Rejected a Strict Voter ID Law
          Proposed to Address Possible Fraud Arising from Use of an Affidavit Fail-
          Safe System.
     In January 2011, the North Dakota Legislature debated House Bill 1447 (“HB 1447”).

The sponsor of the bill, Rep. Kim Koppelman, brought the bill out of concern that under

North Dakota’s existing voting system, a person could cast a fraudulent vote through a false

affidavit. See Hearing Minutes on H.B. 1447 Before H. Political Subdivisions Comm., 62nd Leg.

Assemb. 1 (N.D. 2011) (Feb. 3, 2011 statement of Rep. Koppelman, H. Political Subdivisions

Comm.) (“HB 1447 Hearing Minutes”). An amendment would have imposed stricter voter ID

requirements. The amendment would have narrowed the set of acceptable voter IDs to an

ID issued by the state, a tribal ID card, or a form of ID prescribed by the Secretary of State.

S. Journal, 62nd Leg. Assemb., 74d Sess. 1642 (N.D. 2011). In addition, the amendment

would have required any person who submitted an affidavit at the polling place to present

an acceptable form of ID within a specified number of days. Id. at 1644. If the voter failed to

produce a valid ID, his or her ballot would not be counted. Id.

     At that time, legislators were highly skeptical of changing what had been a well-

working election system, given the absence of any fraud. For example, Sen. Dwight Cook (R)

observed that the “whole voting process is the basic core of the democratic process and we


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certainly don’t want to see somebody win an election because of voter fraud but to what

degree we have any of that I am not sure if we have a great degree.” HB 1447 Hearing

Minutes at 3 (Apr. 12, 2011 statement of Sen. Dwight Cook, H. Political Subdivisions Comm).

     Legislators modified HB 1447 via hoghouse (a rare Legislative maneuver that

replaces an entire bill’s text with new text), and proposed a voucher method as an

alternative “fail-safe”. The proposed voucher system preserved HB 1447’s ID requirements

but did away with the affidavit system. Instead, the proposed voucher system allowed for

(1) a poll worker to vouch for the voter, (2) another voter to vouch for one additional

person, or (3) a housemate to vouch for up to four people who lived at the same address.

HB 1447 Hearing Minutes at 1-2 (statement of Chairman Koppelman, H. Political

Subdivisions Comm. on Apr. 15, 2011). Legislators expressed concern that this system was

also too strict and would make it more difficult for state citizens to vote. HB 1447 Hearing

Minutes at 2 (Apr. 20, 2011 statement of Rep. Zaiser, H. Political Subdivisions Comm.).

     When testifying on HB 1447, Silrum stated that a portion of the electorate could not

produce an ID bearing a residential address. More specifically, Silrum reported that Native

Americans were less likely to possess an ID that contained a residential address. Silrum

stated: “This is very much the case also in small town North Dakota where if you sent

something to their street address the post office will return it because it needs to go to their

post office box . . . a couple of our counties that have reservations in the state have not

completed their 911 addressing. Even if they have the residence of those counties [they]

don’t know what their 911 address is.” Id. at 2-3 (Apr. 20, 2011 statement of Jim Silrum, H.

Political Subdivisions Comm.). Silrum vowed his office would “work[] with the colleges;

utility companies . . . all the avenues that will help those people who don’t necessarily have

ID’s show where they live.” Id. at 3 (Apr. 18, 2011 statement of Jim Silrum, H. Political

Subdivisions Comm.). Thus, through the debate on HB 1447, North Dakota legislators knew

that Native Americans disproportionately relied on P.O. box addresses, that they did not

have or did not know their 911 addresses, and that they were less likely to have an ID

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containing a residential address.

     In the end, the Legislature rejected HB 1447 on a bipartisan basis by a 38-8 vote. S.

Journal, 62nd Leg. Assemb., 75d Sess. 1659 (N.D. 2011). The Legislature decided that

warnings about the possibility of hypothetical abuse of the affidavit system was not enough

to change North Dakota’s laws.

       C. Following the Election of Heidi Heitkamp, the Republican-Dominated
          Legislature Passed Restrictive Voter ID Laws.
     In 2012, North Dakotans elected Democrat Heidi Heitkamp to the U.S. Senate. She won

by less than 3,000 votes. Official Results General Election – November 6, 2012, ND Voices,

http://results.sos.nd.gov/resultsSW.aspx?eid=35&text=Race&type=SW&map=CTY                 (last

updated Nov. 15, 2012). Most Native Americans are Democrats and their votes were

instrumental to Senator Heitkamp’s success. See 2018 Declaration of Michael C. Herron

(“2018 Herron Decl.” at 17, attached as Exhibit 3) (Native Americans generally vote

democratic); Jim Fuglie, United States Senator Mary Kathryn (Heidi) Heitkamp. How About

That?, ( Nov. 9, 2012), http://theprairieblog.areavoices.com/2012/11/09/united-states-
senator-mary-kathryn-heidi-heitkamp-how-about-that/        (attributing   Sen.      Heitkamp’s

success to Native Americans); Dr. AnnMaria De Mars, Native Americans: Why Heidi

Heitkamp      Won      &     Nate     Silver    Was      Wrong?      (Nov.        19,   2012)
http://www.thejuliagroup.com/blog/?p=2808; Meteor Blades, American Indian Voters and

Indian Organizers Gave N.D. Senate Edge to Democrat Heidi Heitkamp (Nov. 8, 2012),

https://www.dailykos.com/stories/2012/11/8/1158417/-American-Indian-voters-and-

Indian-organizers-gave-N-D-Senate-edge-to-Democrat-Heidi-Heitkamp.

     During the 2013 legislative session, the Legislature enacted HB 1332 through a

hoghouse amendment. This process expedited the bill’s passage and stifled debate. At the

time, Rep. Mock (D) protested use of the procedure because the bill would “completely

change the way we handle voters in our state” and would deny the public and agencies

impacted by the bill from providing input. House Floor Session: Hearing on H.B. 1332, 63rd

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Leg. Assemb. (N.D. 2013) (Feb. 12, 2013 statement of Rep. Corey Mock) (“HB 1332

Hearing”). Rep. Marie Strinden (D) also objected, stating: “I take a lot of pride in the fact

that this committee thinks very long and hard about all of our bills . . . I can’t be proud of a

bill that we all know has problems because no other bill that we passed out of here have we

done it with such stealth without addressing those problems.” Hearing Minutes on H.B. 1332

Before H. Gov’t and Veterans Affairs Comm., 63rd Leg. Assemb. (N.D. 2013) (Feb. 8, 2013

statement of Rep. Marie Strinden, H. Gov’t and Veterans Affairs Comm.).

       The Legislature passed HB 1332 by a 30-16 party-line vote on April 3, 2013 (only one

Democrat voted in favor and three Republicans voted against). Senate Floor Session Hearing

on H.B. 1332, 63rd Leg. Assemb. (N.D. 2013). Nineteen of the senators who were in the

Senate during the 2011 legislative voted against HB 1447, voted for HB 1332. Compare S.

Journal, 62nd Leg. Assemb., 75d Sess. 1660 (N.D. 2011) with S. Journal, 63rd Leg. Assemb.,

59d Sess. 1062 (N.D. 2013).

       Under HB 1332, qualified voters who showed up at the polls without a qualifying ID

would not be allowed to vote. N.D. Cent. Code § 16.1-01-04, amended by H.B. 1333, 64th

Leg. Assemb. Reg. Sess. § 5 (2015). In addition, the law did not allow the use of P.O. boxes to

verify a voter’s residency, even though lawmakers knew that many Native Americans (as

well as other citizens) relied upon P.O. boxes. HB 1447 Hearing Minutes (Apr. 20, 2011

statement of Jim Silrum, H. Political Subdivisions Comm.).

       During the next legislative session in 2015, the legislature made the state’s voter ID

requirements even more restrictive by passing HB 1333. 3
       D. This Court Enjoined HB 1332 and 1333 and Ordered an Affidavit “Fail-Safe”
          Voting Mechanism
       As this Court recognized, HB 1332 and 1333 were “arguably some of the most

restrictive voter ID laws in the nation.” Doc 50 at 4. In July 2016, Plaintiffs moved to enjoin

   3 HB 1333 removed the Secretary of State’s discretion to allow other ID, and took away
the option for students to use college identification certificates. N.D. Cent. Code § 16.1-01-
04, amended by H.B. 1369, 65th Leg. Assemb. Reg. Sess. § 5 (2017).

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enforcement of the laws in connection with the 2016 general election. See Pls.’ Mot. For

Prelim. Inj., ECF No. 42. This Court granted Plaintiffs’ motion on August 1, 2016, ruling that

the Defendant could not enforce the laws without providing a safety net for “those voters

who cannot obtain a qualifying ID with reasonable effort.” Doc. 50 at 1-2. In its order, this

Court found:

            Given “the disparities in living conditions, it is not surprising that North

             Dakota’s new voter ID laws are having and will continue to have a

             disproportionately negative impact on Native American voting-eligible

             citizens.” Id. at 18.

            “It is undisputed that the more severe conditions in which Native Americans

             live translates to disproportionate burdens when it comes to complying with

             the new voter ID laws.” Id. at 7.

            “Native Americans face substantial and disproportionate burdens in obtaining

             each form of ID deemed acceptable. . . obtaining any one of the approved forms

             of ID almost always involves a fee or charge, and in nearly all cases requires

             travel.” Id. at 9.

            To satisfy the laws’ strict ID requirements, it “helps to have a computer with

             Internet access, a credit card, a car, the ability to take time off work, and

             familiarity with the government and its bureaucracy, ” but “the typical Native

             American voter living in North Dakota who lacks qualifying ID simply does not

             have these assets.” Id. at 9-10.

            “Although the majority of voters in North Dakota either possess a qualifying

             voter ID or can easily obtain one, it is clear that a safety net is needed for those

             voters who simply cannot obtain a qualifying voter ID with reasonable effort.”

             Id. at 22.

            This Court could not “envision a compelling reason or a governmental interest

             which supports not providing such an avenue of relief for potentially

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              disenfranchised voters.” Id.

             “The ill-advised repeal of all such ‘fail-safe’ provisions has resulted in an undue

              burden on Native American voters and others who attempt to exercise their

              right to vote. There are a multitude of easy remedies that most states have

              adopted in some form to alleviate this burden.” Id. at 28-29.

        E. Thousands of Native Americans Voted Via The “Fail-Safe” Affidavit in the
           2016 General Election and Before.
       With HB 1332 and 1333’s new strict ID requirements in place, and with many Native

Americans unable to obtain qualifying ID without undue burden, thousands of Native

Americans were only able to vote in 2016 by using the “fail-safe” affidavit adopted by the

Court. Indeed, according to 2nd Barreto/Sanchez Survey, “Native Americans who were

eligible to vote were more likely to report having signed an affidavit or having been

vouched for a poll worker in the past.” 2018 Barreto Decl. ¶ 44. For example, in Sioux

County (the county with the highest Native American population in the state), 10.7% of all

ballots cast in 2016 were by affidavit, as compared to only 2.3% in 2012. Id. ¶ 44(g).

Similarly, in Rolette County, which is 77% Native American, 209 people voted by affidavit

in 2016, compared to only 12 people in 2012. Id. at Exhibit D. Overall, the top three most

heavily Native American counties (Sioux, Rolette, and Benson counties), which are all

majority-Native American, experienced a 750% increase in the rate of affidavit usage. Id. at

Exhibit D (figure calculated from raw data provided).

        F. There is No Evidence That The Increased Use of the Court-Adopted
           Affidavit Fail-Safe Resulted in an Increase in Voter Fraud, or Even Any
           Fraud At All
       State reports indicate that 5,661 more people voted by affidavit in 2016 than in 2012

(16,180 4 compared to 10,519). Id. There is no evidence that the increased use of affidavits



   4  In its brief, the Defendant states that 16,215 affidavits were used in the 2016 general
election. Mem. in Supp. Of Mot. to Dissolve Prelim. Inj. 9, ECF No. 81. In a spreadsheet
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resulted in any voter fraud. In its brief, Defendant presented various information in an

attempt to suggest there was a fertile possibility of fraud. But none of Defendant’s statistics

or anecdotes are suggestive of any actual fraud caused by use of the affidavit fail-safe

mechanism:

             Defendant asserts that 311 registered voters listed UPS stores as their

              residential street address. Doc. 81 at 7. There is no evidence that any of these

              311 people committed voter fraud. The exhibit Defendant produced

              (presumably a copy of the central voter file) reveals only 30 5 of the 311

              registrants actually voted, and that only three of those 30 used the affidavit.

              Doc. 81-68, Ex. S19 to Silrum Aff. And there is no assertion that these three

              people falsified their identity, or their status as North Dakota residents, or

              otherwise tried to commit fraud (e.g., tried to vote twice, or voted in the wrong

              precinct).

             Defendant argues that through the affidavit, a “relatively small number of

              voters all using the same strategy could cast hundreds of thousands of

              fraudulent votes in a single election.” Doc. 81 at 7. There is no evidence that

              anything remotely like this has ever happened. Defendant has no evidence that

              a single person ever exploited the affidavit to cast a single fraudulent vote, let

              alone “hundreds of thousands” of votes.

             Defendant cites to Barry Goldwater’s memoir to suggest that a 1960 U.S.

              Senate election might have been affected by fraud. Id. at 8. But the only

              “evidence” of fraud is Goldwater’s assertion that John Davis lost the election by



provided by the State’s attorney, however, it notes that 16,180 affidavits were utilized.
Barreto Decl. at Ex. D.
   5 Defendant even acknowledged it is possible that “these addresses found their way into
the central voter file through the use of acceptable forms of ID rather than previous use of a
Voter’s Affidavit.” Doc. 81 at 7.

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       about a thousand votes, “even though the polls had shown him in the lead.” Id..

       The Davis loss is just a provocative story. It is not evidence. Neither the North

       Dakota Legislature nor this Court should base policy on Barry Goldwater’s

       speculation about what might have happened in a senate race more than 50

       years ago.

      Defendant suggests that Senator Heitkamp’s election in 2012 might have been

       the result of fraudulent votes cast through the affidavit fail-safe mechanism. Id.

       at 10-11. But this is just baseless conjecture. There is no evidence that the

       10,519 votes by affidavit were cast by unqualified electors. There is simply no

       evidence that supports their assertions.

      Defendant implies that the fact that the state has not been able to verify the

       qualifications of 3,682 votes cast by affidavit in 2016 is suggestive of fraud, and

       points to the musings of conservative blogger Rob Port as proof. Id. at 12.

       Again, there is no evidence that any of these voters, even though their

       qualifications remain unverified as of today, did anything improper.

      Defendant references 348 cases from the 2016 election that were referred to

       state attorneys for “additional investigation and possible prosecution for voter

       fraud.” Id. at 13. One case was prosecuted. It involved a person who voted both

       in person and as an absentee. Id. In one other case the Defendant mentioned, a

       person allegedly voted by absentee in North Dakota and in person in Idaho. Id.

       The State’s Attorney declined to prosecute that person. Id. Critically, the

       affidavit fail safe system was not utilized in either of these alleged instances of

       fraud, and North Dakota’s new stricter voter ID laws would not have prevented

       these instances of alleged fraud. With respect to all the other cases, the state

       attorneys did not find them worthy of further pursuit. The inaction indicates

       that no fraud was committed, not that it was.

      In his affidavit, Silrum describes how his office suspected seven affiants of

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              being non-U.S. citizens “based on information provided in the Voter’s

              Temporary Affidavits.” Aff. of Irwin James Narum (Jim) Silrum ¶ 42, ECF No.

              81-55. Silrum does not clarify what his office found suspicious about these

              people. More importantly, Silrum admits that six were naturalized citizens and

              therefore qualified to vote, and that his office never found any evidence that

              the seventh person was not a citizen. Again, unfounded suspicion and

              speculation is not evidence of voter fraud.

       In sum, North Dakota has used an affidavit fail-safe system for years. There has never

been any evidence of actual pervasive fraud. Now, as before, there is a “total lack of any

evidence to show voter fraud has ever been a problem in North Dakota.” Doc. 50 at 22

(emphasis added).

        G. North Dakota Adopted HB 1369 Even Though Legislators Knew the Law
           Would Disproportionately Affect Native Americans.
       In April 2017, North Dakota enacted House Bill 1369 (“HB 1369”). Defendant admits

“HB 1369 (2017) maintains the requirement of an ID for every voter.” Answer to First Am.

Compl. ¶ 99, ECF No. 88. Under HB 1369, anyone desiring to vote must produce a North

Dakota driver’s license, a North Dakota non-driver’s ID card, or “an official form of

identification issued by a tribal government to a tribal member residing in this state.” N.D.

Cent. Code § 16.1-01-04.1(3)(a). 6
       HB 1369 allows a voter to supplement his or her ID with certain other documents if

the information found on the ID is incorrect or missing. The acceptable supplemental

documents include “(1) A current utility bill; (2) A current bank statement; (3) A check

issued by a federal, state, or local government; (4) A paycheck; or (5) A document issued by

   6
     Additional exceptions are available for those living in a long-term care facility and
uniformed service members and their immediate family members outside of the state or
country. Interestingly, individuals living with certain disabilities can use a signature
(voucher) on an absentee or mail ballot from another qualified elector. N.D. Cent. Code §
16.1-01-04.1(4)(c).

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a federal, state, or local government.” Id. § 16.01-01-04.1(3)(b). The Help America Vote Act

(“HAVA”) allows for person to use this same set of documents to register to vote if they lack

proper ID. 52 U.S.C. § 21083(b)(2)(A)(i). However, unlike HAVA, HB 1369 requires that an

elector also possess a qualifying ID; supplemental documents alone are not sufficient under

HB 1369.
                 1. North Dakota lawmakers knew HB 1369 would disproportionately
                    impact Native Americans.
     On January 30, 2016, Rep. Marvin Nelson, whose district is majority Native American,

explained in an op-ed in the Grand Forks Herald that as a Legislator he was well aware of

how “[i]t’s not a question of ID. Tribal members have IDs, but they happen to be IDs that

North Dakota decided weren’t good enough” since “tribal IDs in North Dakota do not . . . list

the person’s address.” Marvin Nelson, Marvin Nelson: N.D.’s Voter ID Laws Hurt Minorities’

Voting          Rights,      Grand        Forks       Herald        (Jan.       30,    2016),

http://www.grandforksherald.com/opinion/columns/3936274-marvin-nelson-nds-voter-

id-laws-hurt-minorities-voting-rights (emphasis added). The reasons for this are “many”

but most notably because there “are still rural residents who cannot count on their 911

address being correct. So a great many tribal IDs do not have a 911 address that can be

counted.” Id.

     During the debate on HB 1369, the Native American Rights Fund (“NARF”) provided
testimony to both houses of the Legislature. NARF expressed its “deep[] concern[]” that the

bill “d[id] not provide any fail-safe mechanisms” for voters that did not have a qualifying ID

which was “one of the main reasons the federal court granted a preliminary injunction.”

House Testimony of Joel Williams Re HB 1369, attached as Exhibit 4 at 1 (the Senate

testimony was identical).       NARF testified to, and provided extensive evidence of, the

“estimated 7,984 Native Americans, or 23.5 percent of the total voting-eligible Native

American population” that did not have a qualifying ID and briefed the Legislature about

the hurdles faced by Native Americans to obtain qualifying ID. Id. at 3. NARF explicitly


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warned the Legislature “to carefully consider the disproportionate burdens North Dakota’s

voter ID requirements place on Native Americans.” Id. at 6.

     In a speech before the House, Rep. Johnson (R) warned that HB 1369 did not contain

an adequate “fail-safe” mechanism, stating, “Judge Hovland spent a whole bunch of time in

his order enjoining the 2015 bill regarding the burden placed on Native Americans on

obtaining what is a valid ID as provided in the bill. And there it is again. Despite that you

provide a provisional ballot you are still requiring the same valid ID and that is not truly a

fail-safe option like an affidavit is . . . I would be remiss to substitute Judge Hovland’s

opinion for mine but I don’t believe this will pass constitutional muster again . . . .” House

Floor Session: Hearing on H.B. 1369, 65th Leg. Assemb. (N.D. 2017) (Apr. 17, 2017 statement

of Rep. Mary C. Johnson) (emphasis added) (hereinafter “HB 1369 Hearing”).

     In considering HB 1369, the Legislature failed to study, in any way, the impact the law

would have on Native Americans. It did not consult any tribal governments about whether

its tribal members were negatively impacted by the bill or whether they supported or

opposed the bill. Standing Rock Sioux Chairman Faith Decl. ¶¶4, 5, attached as Exhibit 5;

Spirit Lake Tribe Chairman Pearson Decl. ¶¶ 5, 6 (attached as Exhibit 6). Despite making

allowances and provisions for elderly, military, and disabled voters, the Legislature failed

to consider the needs of Native American voters, even after being repeatedly warned of the

disproportionately burdensome impact imposed by its ID requirements.

              2. HB 1369 maintains HB 1332 and HB 1333’s highly restrictive voter
                 ID requirements.
     Make no mistake, HB 1369’s ID requirements are just as strict as HB 1332 and HB

1333. In its Motion to Dissolve (“Motion”), Defendant tries to soften the law by asserting,

for the first time, that a tribal ID “need be nothing more than a document from tribal

authorities setting forth the tribal member’s name, date of birth, and current residential




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street address.” Doc. 81 at 19. While Plaintiff’s would welcome this reading, 7 Defendant

relies solely upon the Silrum affidavit to support its new-found interpretation. The reality

is that the text of HB 1369 mirrors the language in HB 1332 and HB 1333, which required

“an official form of identification issued by a tribal government.” Compare N.D. Cent. Code §

16.1-01-04.1 with N.D. Cent. Code § 16.1-01-04, amended by H.B. 1333, 64th Leg. Assemb.

Reg. Sess. § 5 (2015) and N.D. Cent. Code § 16.1-01-04, amended by H.B. 1369, 65th Leg.

Assemb. Reg. Sess. § 5 (2017). Defendant, throughout this case, has previously interpreted

this to mean a tribally issued ID card. The State’s own marketing materials only mention a

“tribal ID card” (emphasis added) and make no reference to any letter. Doc. 81-55 Silrum

Aff. Exhibits S3-S9. Furthermore, it is unclear under the plain language of the statute that a

letter would meet the requirement of an “official form of identification.” The placement of

the tribal ID requirement with other traditional forms of ID cards such as a driver’s license

and a non-driver’s ID makes this interpretation unlikely. Because some North Dakota tribal

governments issue tribal ID cards, it’s more likely that the plain language of the statute

requires a tribal ID card and not just a letter.

       Silrum asserts in his affidavit that the Turtle Mountain Tribal Chairman has been

informed of this letter option since May 2014. Doc. 81-55 ¶ 43. However, there is no

explanation of the type of public education campaign conducted. Silrum does not indicate

whether the Standing Rock Sioux, Spirit Lake Tribe, or Mandan, Hidatsa & Arikara Nation

have been informed of this informal option.

       Finally, there is no official state regulation, guidance, or other document espousing


   7  Plaintiffs support providing more options for North Dakota voters. However, these
letters may be impossible to issue as not all tribal members have readily accessible
addresses. Moreover, this scheme shifts the administrative burden to tribal governments to
locate the addresses for all of its rural members (who may not know their residential
address), despite it being a State requirement to have a residential address in order to vote.
Plaintiffs maintain a “fail-safe” option would still be necessary if a tribal letter were
permissible identification.

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Silrum’s interpretation. Because there is no official State authority espousing that a letter

issued by a tribal government would be an acceptable form of identification, and all of the

State materials show an ID card as the acceptable form of tribal ID, it is dangerous for an

elector to trust that poll workers would consistently accept such a letter.

     Silrum also states—again without permanent or supporting authority—that the “State

accepts Tribal IDs issued by a Tribe or by the Bureau of Indian Affairs as valid forms of ID

as long as it includes the required information.” Doc. 81-55 ¶ 43. However, HB 1369’s plain

language requires that the identification be “issued by a tribal government” and makes no

mention of the Bureau of Indian Affairs. N.D. Cent. Code § 16.1-01-04.1(3)(a)(2). The

Legislature was informed before passage of the law that the IDs of those living on the

Standing Rock Reservation were issued by the Bureau of Indian Affairs and not their tribal

government. Doc. 50 at 16. Despite these expressed concerns, the Legislature made no

change to the law’s language. Again, while Plaintiffs would support this broader

interpretation, the plain language of the statute requires identification to be issued by a

“tribal government” and not the Bureau of Indian Affairs in order to be acceptable under

HB 1369. N.D. Cent. Code § 16.1-01-04.1(3)(a)(2).

       H. In Enacting HB 1369, The Legislature Disregarded This Court’s Mandate to
          Provide a “Fail-Safe” Mechanism for Voters Without The Required ID.
     Under HB 1369, any citizen who does not have the required ID with them when they

arrive at a polling place may mark a ballot that is then set-aside in an envelope. N.D. Cent.

Code § 16.1-01-04.1(5). The votes marked on this ballot will not be counted unless the

person produces a valid ID at the polling place before it closes on Election Day, or produces

a valid ID within six days to “an employee of the office of the election official responsible for

the administration of the election,” and the ID is verified and “presented to the members of

the canvassing board for proper inclusion or exclusion from the tally.” Id. It is not clear

whether the canvassing board has discretion to deny inclusion of any set-aside ballots. If

so, even voters with an ID may have their ballots denied. Regardless, however, because a

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voter must still show a valid ID, HB 1369’s set-aside ballot process cannot be considered a

fail-safe mechanism for those that simply do not have an ID.

        In its Motion, Defendant maintains that through HB 1369 “the North Dakota

Legislature amended its election laws to include a ‘fail-safe’ provision.” Doc. 81 at 2.

Defendant suggests that under HB 1369’s set-aside process a qualified voter does not need

an ID when they return within the six-day period. Id. at 2, 14. However, contrary to

Defendant’s argument, no provision of HB 1369 allows allow a voter to cure a lack of

required ID “through supplemental documents” alone. HB 1369 still mandates that every

elector possess one of the few types of qualifying ID, even when he returns within six days

under the set-aside system. N.D. Cent. Code § 16.1-01-04.1(5). Indeed, Defendant admits

that “HB 1369 (2017) maintains the requirement of an ID for every voter.” Doc. 88 ¶ 99.

        Another significant problem with HB 1369’s purported “fail-safe” method is that it is

not certain that every voter lacking the required ID actually would be given a set-aside

ballot. Thus, HB 1369’s set-aside ballot procedure might work, at most, for those voters

who know to ask for a set-aside ballot, those who need one simply because they forgot the

qualifying ID they have, and those who will suffer no substantial impediment to obtaining a

qualifying ID or returning later cure the ballot. This Court cannot consider HB 1369’s “set-

aside” process a true fail-safe for voters who are not informed of the procedure, who do not

already have qualifying ID, who do not have a birth certificate or other necessary

documents to obtain an ID, or who do not have the means to return within the required six

days.

        Texas adopted a similar provisional “set-aside” system as part of its strict voter ID

law. When challenged, the court held Texas’s “set-aside” system was not a “fail-safe” for

voters that do not have adequate resources. The court found that “[i]f a voter does not have

that ID on election day, the evidence indicates that it will be very difficult for the voter to

get it within six days.” Veasey v. Perry, 71 F. Supp. 3d 627, 687 (S.D. Tex. 2014), aff'd in part,

vacated in part, rev'd in part sub nom. 830 F.3d 216 (5th Cir. 2016).

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     Perhaps most disturbing is that Deputy Secretary of State Silrum, who drafted HB

1369, knew this “set-aside” system would prove too cumbersome for most voters, and

actually boasted about its suppressive effects in urging others to support the bill. In an

email to Cass County Auditor Michael Montplaisir, Silrum wrote: “As for the set-aside

ballots, I hope the fact that many individuals who cast them will not likely come into your

office later to verify their qualifications will put some of the fears to rest about long lines

outside your office in the six days after the election.” E-mail from Jim Silrum, N.D. Deputy of

Sec’y of State, to Michael Montplaisir, Cass County Auditor (Jan. 18, 2017, 2:29 PM)

(attached as Exhibit 7).

     Simply put, HB 1369’s “set-aside” process is not a fail-safe, and thus the law fails to

meet this Court’s requirement.
  III. HB 1369 WILL DISPROPORTIONATELY DISENFRANCHISE NATIVE AMERICANS.

     In its earlier motion for a preliminary injunction, Plaintiffs offered extensive and

uncontroverted evidence establishing that Native Americans disproportionately lack

qualifying IDs, and that obtaining qualifying ID is disproportionately burdensome for them.

Pls.’ Mem. in Supp. Of Mot. for Prelim. Inj. 3-17, ECF No. 43. Updated studies by Plaintiffs’

earlier declarants—Messrs. McCool, Barreto & Sanchez, and Webster—prove those

disparities remain and that HB 1369 does nothing to mitigate them. Defendants’ Motion is

bereft of any evidence indicating that any of the disproportionate impacts to Native

Americans imposed by HB 1332 and HB 1333 have been mitigated, either through

increased accessibility to the required forms of ID or through HB 1369.

       A. Thousands of Native Americans in North Dakota Do Not Have Valid ID.
     As mentioned, Dr. Matthew A. Barreto and Dr. Gabriel R. Sanchez performed a second

statistical survey of North Dakota voters to analyze the impacts of HB 1369. See generally

Barreto Decl. According to the 2nd Barreto/Sanchez survey: “approximately 4,998

otherwise eligible Native Americans and 64,618 non-Native voters currently do not possess


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qualifying voter ID in North Dakota.” Barreto Decl. ¶ 40. In percentages, this equates to

19% of Native Americans that lack ID versus 11.6% of non-natives that lack valid ID. Id. at ¶

39. These numbers are particularly high because it includes voters with expired IDs or IDs

with outdated information. Because of the address requirement, “10.9 percent of non-

Natives lack a valid ID” as compared to “18 percent of Native Americans.” Id. at ¶ 41.

Barreto and Sanchez concluded that their updated data compels the “conclusion that a

racial disparity exists in possession rates of qualifying voter ID between Native Americans

and non-Native Americans among both eligible voters generally, and also among those who

voted in the previous presidential election, with Native American voters significantly less

likely to have a qualifying voter ID.” Barreto Decl. ¶ 42.

      Defendant counters by arguing any problem is insignificant because 97.5% of

previous voters have a qualifying ID. Doc. 81 at 29. This argument fails for numerous

reasons:

              First, Defendant has failed to support its statistic with any underlying data or

               underlying methodology. As Declarant Herron explains: “Because the Silrum

               Affidavit does not define the criteria used to characterize a match between the

               CVF and NNDOT database, I cannot offer a judgment as to whether the 97.5

               percent figure may be too high (because individuals listed in the CVF were

               incorrectly linked to the individuals in the NDDOT database) or too low

               (because the matching algorithm was excessively conservative).” 2018 Herron

               Decl. 20-21. In contrast, the 2nd Barreto/Sanchez Survey was able to assess

               how the North Dakota voter ID law affects all eligible voters across all types of

               ID, and is therefore much more reliable. Barreto Decl. ¶ 12. See Common

               Cause/Ga. v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009) (discussing

               problems with these types of match lists).

              Second, the number is misleading because it is only a percentage of those who

               have voted before, rather than a percentage of all qualified electors. 2018

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                Herron Decl. at 22-23. By definition, it underestimates the problem.

               Third, even if taken at face value, Defendant’s asserted number still exposes

                the fact that 2.5% of North Dakota’s qualified electors lack valid ID. Assuming

                North Dakota’s voting age population is 583,001, 8 this means that 14,575

                people do not have qualifying ID. And it is likely that a disproportionate

                number of these people are Native Americans.

        B. Thousands of Native Americans Lack Qualifying Supplemental
           Documentation.
       A disproportionate number of Native Americans lack the documentation one may use

to supplement an ID under HB 1369. Indeed, “48.7percent of Native Americans whose ID is

otherwise valid do not have at least one of the five acceptable supplemental address

documents required by the law,” as compared to just 26.2% of non-Native Americans.

Barreto Decl. ¶ 41.

       The types of supplemental documents that North Dakota decided to find acceptable in

HB 1369 again reflect a disregard for Native Americans. Because many Native Americans

heavily rely on P.O. boxes to conduct their affairs, most of the correspondence that those

Native Americans receive will be addressed to their P.O. box and will not contain a

residential address. For example, many tribal members do not receive utility bills that

reflect their residential address. In fact, for those that receive fuel assistance, the utility

company may not even send a bill.           2018 Dir. Of LIHEAP Fuel Assistance Program,

(“Frederick Decl.”) ¶ 10 (attached as Exhibit 8). Utility companies often send their bills to

the most reliable mailing addresses, and the addresses on those bills are often a P.O. Box.

See Id. ¶ 12.

        C. Many Native Americans Cannot Produce an ID Showing Their Residential
           Address Because They Have No Residential Address.
       Obviously, one cannot possibly have ID showing a residential address if one does not

   8   https://www.commerce.nd.gov/uploads/8/CensusNewsletterApr2016.pdf.

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have a residential address. As Professor Daniel McCool explains, this is still the case for

many:
        Many areas of reservations simply lack addresses; in some areas the streets
        do not even have names. Russ McDonald, the President of United Tribes
        Technical College, explained that on his reservation (Spirit Lake), in many
        places there are no street addresses, no names on the roads, and the only way
        to navigate is to ‘know the land’ (McDonald 5 Feb. 2018). Nancy Greene-
        Robertson, the former Secretary-Treasurer of the Spirit Lake Tribe,
        confirmed this: “It’s huge that people don’t have a street address; I can’t even
        get a package here. There’s no street signs, no numbers on houses unless it’s a
        housing unit” (Greene-Robertson 5 Feb. 2018). Two members of the Turtle
        Mt. Band of Chippewas explained to me that, until recently, the BIA issued
        tribal IDs at Turtle Mountain, and virtually none of them had street addresses
        (C. Davis and L. Davis 2018). (emphasis added) 2018 Addendum to Daniel
        McCool, Ph.D. Decl. at 4, attached as Exhibit 9, "2018 McCool Decl."
     Professor Jerry Webster’s updated report (“2018 Webster Rep.,” attached as Exhibit A

to Exhibit 10, the Declaration of Dr. Gerald Webster, “2018 Webster Decl.”) (further

confirms that the “address requirement is problematic with most tribal members on the

Spirit Lake Reservation using P.O. Box addresses (Lourens, 2016), and many tribal

members on the Ft. Berthold Reservation either not knowing their actual residential

address or preferring to use a P.O. Box address (Taft, 2015).” Webster Rep. ¶ 33. Tribal

leaders report the same problem. See Faith Decl. ¶ 9; Pearson Decl. ¶ 9. In early 2016, Rep.

Marvin Nelson explained that in his majority Native American district there “are still rural

residents who cannot count on their 911 address being correct. So a great many tribal IDs

do not have a 911 address that can be counted.” See Marvin Nelson, supra.

     The North Dakota Legislature has known since at least 2011 that there is a lack of

residential addressing on North Dakotan reservations. See, supra, Section II(B) & II(G)(1).

Nevertheless, the Legislature adopted HB 1332, 1333, and 1369, which all require IDs

showing a residential address.

        D. Many Native Americans Lack Qualifying Tribal IDs.
     As this Court recognized:
      It is undisputed that many tribal ID’s do not satisfy North Dakota’s
      requirement of showing the “applicant’s current or most recent North Dakota

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       residential address” under the new law. The record reveals that many homes
       on the reservations either do not have residential addresses (the Post Office
       delivers their mail to post office boxes), or there is no clear address, so tribal
       ID’s do not reflect any residential addresses. . . . In addition, obtaining new
       tribal ID’s can be burdensome because they cost money, and one must travel
       to tribal headquarters to obtain one. Further, many Native Americans
       (including all those living on the Standing Rock Reservation) only have ID’s
       issued by the federal Bureau of Indian Affairs; they do not have ID’s issued by
       tribal governments. Thus, these forms of ID’s also do not satisfy the voter ID
       laws’ definition of “tribal government issued” ID card. Doc. 50 at 16 (citations
       omitted).
     HB 1369 does not materially change the tribal ID requirements previously imposed.

Thus, this Court’s earlier findings remain true today: many tribal ID cards do not meet all

requirements of the law, and many Native Americans would need to either find

supplemental documentation or acquire a different ID. As discussed above, Native

Americans are less likely to possess supplemental documentation, supra, Section III(B), and

lack the financial and other resources needed to acquire a different qualifying ID. See Faith

Decl. at 2-3; Frederick Decl. ¶ 7 (“In my estimation, many indigent tribal members are

unable to afford the $10 cost of a tribal ID.”). Further, no Standing Rock Sioux members

have a qualifying tribal ID under the plain language of HB 1369 because all their cards are

issued by the BIA. Faith Decl. at 2.
     As discussed, Defendant’s attempt to circumvent the harsh requirements by stating,

for the first time publicly, that a tribally issued letter would suffice is contrary to HB 1369’s

language and belied by the public advertisement campaigns. Supra, Section II(G)(2).

Moreover, letters issued by tribal governments would shift a large administrative burden

onto tribal governments to locate the residential addresses of members who may lack, or
may not know, their addresses. Id. Practically speaking, this would be impossible for tribes

to implement. Faith Decl. at 3.

       E. Native Americans Who Currently Lack Qualifying ID Face Substantial
          Burdens in Obtaining a Qualifying ID.
     The burdens facing Native Americans in obtaining or updating a qualifying ID are


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discussed at length in Plaintiff’s first Motion. See Doc. 43 at 9-17. As this Court observed,

“[t]hese undisputed statistics and studies support the finding that, given the disparities in

living conditions, it is not surprising that North Dakota’s new voter ID laws are having and

will continue to have a disproportionately negative impact on Native American voting-

eligible citizens.” Doc. 50 at 18. Plaintiffs incorporate these arguments, and this Court’s

findings, by reference here and note, as further discussed below, that the disparate

conditions facing Native Americans remain true today, resulting in disproportionate

impacts under HB 1369. See 2018 Barreto Decl. at 21-28 (discussing burdens); 2018

Webster Rep. at 4-5 (discussing burdens).
              1. Native Americans disproportionately live in severe poverty.

      As this Court found, Native Americans disproportionately live in severe poverty. Doc.

50 at 17. “While 8.7% of Whites in North Dakota had incomes below the poverty level,

37.5% of Native American North Dakotans had incomes below the poverty level 2012-2016

(Table 3). Thus, the poverty rate for Native Americans is over 4.3 times that for Whites in

North Dakota.” 2018 Webster Rep. ¶ 22. “There is a geographic association between

counties with larger proportions of Native Americans and higher rates of poverty . . . For

example, the counties with the highest poverty rates are Sioux (38.0%), Rolette (31.6%),

and Benson (33.5%) with no other county in North Dakota having a poverty rate of 19% or

more. These three counties are 84%, 77% and 55% Native American, respectively.” Id. ¶

23.
              2. The cost of obtaining a qualifying ID is prohibitively expensive for
                 Native Americans.
      Plaintiff Lucille Vivier’s story exemplifies how insurmountable it is for all too many

impoverished Native Americans to obtain an ID card. Vivier lives in poverty. When she

tried to obtain a social security card, she spent more than $150 of her $796 total monthly

income. 2018 Vivier Decl. ¶¶ 6, 16 (attached as Exhibit 11). She paid for a driver, gas, a

babysitter, and meals, and traveled nearly 100 miles to Minot. Id. ¶ 16. Vivier thought she


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needed a social security card to obtain a state ID card. When she arrived, she was told the

Social Security Office would not accept her tribal Turtle Mountain ID (even though it would

accept other North Dakotan tribal IDs). She still does not have a social security card, or

state driver’s license, or an ID card. Id. ¶ 19. Given the money she already wasted on her

earlier trip, Vivier does not know when or if she will again attempt to get another social

security card or ID.

     The administrative cost to obtain a tribal ID is also too much for indigent tribal

members. For example, the Standing Rock Chairman and Turtle Mountain Low Income

Energy Assistance Program (LIHEAP) Director that some that cannot afford the cost of a

$10 tribal ID. Faith Decl. at 2; 2018 Frederick Dec. ¶ 7. Turtle Mountain Community

Member, Carol Davis, stated, “I do not believe a significant portion of our members will be

able to pay the $10 fee to obtain an updated card.” Davis Decl. ¶ 20, attached as Exhibit 12.

Plaintiffs Elvis Norquay and Vivier currently do not intend to update their out-of-date IDs

that show a now-incorrect residential address because of the cost. 2018 Elvis Norquay

Decl. ¶ 14, attached as Exhibit 13; 2018 Vivier Decl. at 3-4. Plaintiff Richard Brakebill

currently cannot predict if he will be able to afford to update his tribal ID when it expires in

August of 2018, three months before the November 2018 elections. 2018 Brakebill Decl. ¶

19, attached as Exhibit 14.

              3. The substantial cost/travel burdens have become even more severe.
     This Court found that “a successful visit” to a Driver’s License Site (“DLS”) “requires

knowledge and experience dealing with bureaucratic institutions, a means of

transportation, money to pay for transportation, and the free time to travel the often

significant distances to such sites . . . overcoming these obstacles can be difficult,

particularly for an impoverished Native American.” Doc. 50 at 12.

     Since this Court’s Order, North Dakota has made it significantly more difficult for

Native Americans to get to a DLS. In 2017, the state closed eight DLS sites, leaving just 19


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statewide. Webster Rep. ¶ 30. There are still no DLS sites on any reservation in North

Dakota. The sites closest to Native American reservations are now even less accessible than

before. For example, the closest DLS to the Turtle Mountain Reservation recently had its

operating hours cut from twice a month to just once a month. Id. ¶ 31. It is now only open

the second Wednesday of every month. Id. That site also cut its operating hours from 9:40

a.m. to 3:20 p.m. to 10:20 a.m. to 2:35 p.m. Id. In addition to the few available hours per

month, the distances Native Americans must traverse to reach a DLS site poses a significant

burden. According to Professor Webster, while “a potential Native American voter on the

Turtle Mountain Reservation would need to travel 12.6 miles to a Driver’s License Site, the

comparable estimates for potential voters on the Standing Rock Reservation is nearly 66

miles one way, and the comparable distance for potential Native American voters on the Ft.

Berthold reservation is over 54 miles one way.” Webster Rep. ¶ 46. The distance barriers

remain significantly higher for Native Americans than white North Dakotans. Native

Americans need to drive on average 1.6 times further. Webster Rep. ¶¶ 40, 41. For Native

Americans residing on reservations the disparity is even higher. “On average, Native

Americans of voting age residing on reservations in North Dakota must travel nearly 33

miles to visit a Driver’s License Site which is greater than the statewide estimates for both

Whites (13.5 miles) or Native Americans (21.9 miles).” Webster Rep. ¶ 46.

              4. Native Americans disproportionately lack access to transportation.
     As this Court noted, “only 73.9% of Native Americans who lack a qualifying voter ID

own or lease a car, compared to 88% of non-Native Americans; and 10.5% of Native

Americans lack any access to a motor vehicle, compared to only 4.8% of non-Native

Americans. Doc. 50 at 8. This disparate access has “remained steady” the last six years.

Webster Rep. ¶ 24. This lack of access to transportation hinders the ability to obtain

qualifying IDs.
              5. Native Americans disproportionately lack access to stable housing.
     Reservation communities in North Dakota face severe housing shortages. See Faith

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Decl. ¶ 10; Pearson Decl. ¶ 14; Davis Decl. ¶¶ 3, 6. It is not uncommon for Native Americans

to be what the Turtle Mountain Housing Authority described in its 2008 Preliminary

Strategic Plan to End Homelessness (attached as Exhibit 15 at 7), as “precariously

housed”—meaning people are at imminent risk of becoming literally homeless at any time.

These people must rely on the goodwill of family and friends to keep a roof over their head.

       It is also not uncommon to have several generations of individuals living in one house

at a time. See Faith Decl. ¶ 12; Pearson Decl. ¶ 16; Frederick Decl. ¶ 8; Davis Decl. ¶¶ 3-6. A

2015 Community Assessment of the Spirit Lake Reservation concluded that Spirit Lake has

a much higher percentage of households with five or more persons (33% of households)

compared to the statewide average of 8%. See Cankdeska Cikana Community College, Spirit

Lake         Nation        Comprehensive         Community          Assessment         (2015),
www.littlehoop.edu/pdf/CAA_Final_Full_Report_3_30_16.pdf . Indeed, 11.4% of households

on the Spirit Lake Reservation house seven or more people. Id. at Table 1.8. In 2016, then

Chairman Richard McCloud remarked, “I’ve seen as many as 20 people in one dwelling, in a

two-bedroom house.” Amy Dairymple, Statistics Point to Tribal Housing Crisis, Summit Seeks

Solutions, Bismarck Tribune (Aug. 2, 2016), http://bismarcktribune.com/news/state-and-

regional/statistics-point-to-tribal-housing-crisis-summit-seeks-solutions/article_3f13cf65-

340b-5ac8-ac92-0124f9d36be2.html. To further complicate matters, the houses being

shared by many may not have a residential address. See supra Section III(C).

       Moreover, outright homelessness continues to plague Native Americans at

disproportionate rates. According to a 2014 point-in-time survey of homeless persons

conducted for the U.S. Department of Housing and Development by the North Dakota

Coalition for Homeless People, 16.9% of the total homeless population in North Dakota was

American Indian or Alaska Native, even though Native Americans make up only about 5%

of the total state population. The Point In Time survey for 2015 had similar results. News &

Publications, Point in Time Counts, North Dakota Coalition for Homeless People,

https://www.ndhomelesscoalition.org/new-page-2/ (last visited Feb. 16, 2018). In 2016,

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the percentage which were Native American rose to 26.8% and in 2017, the percentage of

Native American homeless further increased to 29.5%. Id.

     Despite HB 1369’s fatal flaws, Defendant now urges the Court to dissolve its

injunction order because HB 1369 purportedly fixes the shortcomings this Court found.

This Court should deny Defendant’s Motion and reaffirm that any election held before this

action is resolved must have a fail-safe for those voters who cannot obtain ID with

reasonable effort.

                IV. THE COURT SHOULD NOT DISSOLVE ITS INJUNCTION.
       A. Legal Test for a Motion to Dissolve.

     District courts have equitable discretion to determine what circumstances justify

dissolution of an injunction under Federal Rules of Civil Procedure 60(b). United States v.

Gray, No. 4:15CV1580 RLW, 2016 WL 3181116, at *1 (E.D. Mo. June 3, 2016) (citing Amado

v. Microsoft Corp., 517 F.3d 1353, 1360 (Fed. Cir. 2008)); see also Ams. United for Separation

of Church & State v. Prison Fellowship Ministries, 555 F. Supp. 2d 988, 991 (S.D. Iowa 2008).

Rule 60(b) relief, however, is “an extraordinary remedy and is granted only in exceptional

circumstances.” Kathrein v. City of Evanston, Ill., 752 F.3d 680, 690 (7th Cir. 2014). “The

burden is on the party seeking modification or dissolution of the injunction to demonstrate

‘that a significant change in circumstances warrants revision of the [injunction].’” Prison
Fellowship Ministries, 555 F. Supp. 2d at 992 (quoting Rufo v. Inmates of Suffolk Cty. Jail, 502

U.S. 367, 383 (1992)). Defendant may satisfy this burden by showing a significant change in

either the factual conditions or the law. Id. (citation and internal quotation omitted); see

also Sprint Commc'ns Co. L.P. v. CAT Commc'ns Int'l, Inc., 335 F.3d 235, 241-42 (3d Cir.

2003). Here, Defendant has not identified any significant change in the factual conditions

relating to Native Americans and their ability to obtain voter ID or the law governing voting

rights issues.
        B. There Is No Significant Change in the Factual Conditions or the Law
           Justifying Dissolution of the Preliminary Injunction.


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     This Court already has considered Defendant’s contention about voter responsibility

and the burdens the law places on Native American voters. Id. at 20-22. The Court

concluded “the record clearly belies [Defendant’s] contention, given the socio-economic

disparities between Native American and non-Native American populations in North

Dakota as demonstrated in the numerous studies and statistics presented by the Plaintiffs.”

Doc. 50 at 19-20. HB 1369 still maintains HB 1332 and HB 1333’s operative conditions—it

requires that electors possess one of only a few types of ID. Moreover, the law does not

contain any “fail-safe” mechanism that would enable qualified Native American electors to

vote if they cannot obtain a qualifying ID with reasonable effort. Doc. 50 at 1-2, 22. And, as

discussed above, the “severe burden” placed upon Native Americans persists under HB

1369. Doc. 50 at 21. Thus, there is no significant change in the facts or law that supports

Defendant’s Motion.
      C. Defendant’s Attempt to Relitigate HB 1332 and HB 1333’s Violation of the
         Equal Protection Clause is Inappropriate.
     Defendant argues this Court wrongly enjoined the State and now attempts to

relitigate whether its interests justify the burdens placed upon Native Americans, arguing

that this Court’s injunction should be lifted “even in the absence of a change in the law.”

Doc. 81 at 27. Defendant’s motion is effectively a motion for reconsideration. “A motion to

reconsider, however, ‘should not serve as a vehicle to identify facts or raise

legal arguments which could have been, but were not, raised or adduced during the

pendency of the motion of which reconsideration is sought.’” Gardner v. First Am. Title Ins.

Co., 218 F.R.D. 216, 218 (D. Minn. 2003); see also Broadway v. Norris, 193 F.3d 987, 990 (8th

Cir. 1999) (Rule 60(b) “is not a vehicle for simple reargument on the merits.”).

     Here, Defendant cites three decisions as purportedly justifying dissolution. None of

them constitutes a new development in the law:

            Defendant’s appeal to Crawford, fails to justify reconsideration because this

             Court already considered the Crawford decision. 553 U.S. 181. As the Court


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       stated in its Order: “this Court is required to follow the standard laid out in the

       plurality opinion of the Supreme Court in Crawford authored by Justice

       Stevens, which requires a particularized assessment of the burdens levied by

       an election law . . . The undisputed evidence before the Court reveals that

       Native Americans face substantial and disproportionate burdens in obtaining

       each form of ID deemed acceptable under the new law.” Doc. 50 at 9. In its

       Motion, Defendant fails to produce any evidence that HB 1369 alleviates in any

       way the burdens placed on Native Americans by HB 1332 and HB 1333.

      Defendant notes that since this Court ordered a preliminary injunction, a

       district court in Virginia evaluated Virginia’s voter ID laws and concluded they

       did not unduly burden the class of voters challenging the law. See Lee v. Va.

       State Bd. Of Elections, 843 F.3d 592 (4th Cir. 2016). This Court considered a

       nearly identical argument with regard to the Crawford case, and thus should

       not entertain Defendant’s purportedly “new” argument. In any event, the

       burdens at issue in Lee—in logistics and financial cost—were significantly less

       than those faced by Native American North Dakota electors. For example,

       Virginia provides free voter IDs absent any underlying documentation and the

       registrar will send someone to a voter’s house to issue an ID. Lee, 843 F3d at

       597, 606. In light of this, any comparison to Native American North Dakota

       voters, who face significant challenges obtaining underlying documentation

       and shouldering the associated costs, are inapt.

      Defendant’s reliance on Gonzales v. Arizona, 677 F.3d 383, 409 (9th Cir. 2012),

       is also misplaced. Gonzalez is readily distinguishable because the plaintiffs in

       that case provided “no evidence” that Latinos were less likely to possess

       identification than whites. Id. at 407. Here, this Court already considered this

       argument and found that substantial and unchallenged evidence established

       that North Dakota’s voter ID laws impose disparate burdens on Native

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            American voters in comparison to white North Dakota voters. Doc. 50 at 9.

     Defendant raises multiple arguments regarding the practicability of using the affidavit

system as a “fail-safe” mechanism. Of course, North Dakota was and is free to amend its

laws to include some other “fail-safe” mechanism, but it chose not to do so, despite this

Court’s order indicating a “fail-safe” was needed.

     Finally, Defendant argues the Court’s Order is too broad. Doc. 81 at 27. When this

Court issued its Order, it stated that “a safety net is needed for those voters who cannot

obtain a qualifying ID with reasonable effort.” Doc. 50 at 1-2. Thus, the Court clearly was

contemplating the Plaintiffs’ as-applied challenge and intended to provide a safety net to

Plaintiffs and those similarly situated. Moreover, the Court accepted the Defendant’s

affidavit system for use. Doc. 62 at 2. Defendant now complains about the very affidavit

system it crafted and sought to be implemented. To the extent Defendant may wish to

narrow the relief it crafted, applicable models can be found in Texas, which the Plaintiffs

support. See, e.g.,      https://www.sos.state.tx.us/elections/forms/pol-sub/reasonable-

impediment-declaration.pdf. This Court may also wish to expand upon the Texas template

to provide relief for North Dakota voters who may be able to obtain an ID, but who may not

be able to meet the State’s residence definition, codified through the requirement of a

“residential address” in order to vote. N.D. Cent. Code § 16.1-01-04.1(2)(b).

     Even if Defendant has shown there are significant changes in facts or law justifying

reconsideration (which it has not), Defendant’s proposed dissolution is not suitably

tailored to the dispositive fact that remains the same—that a safety net is needed for those

voters who cannot obtain a qualifying ID with reasonable effort. Any modification must be

suitably tailored to that still existing circumstance, and Defendant’s proposed dissolution

fails that standard. Mays v. Board of Educ. of Hamburg Sch. Dist., 834 F.3d 910, 918 (8th Cir.

2016); Smith v. Board of Educ. Palestine-Wheatley Sch. Dist., 769 F.3d 566, 573 (8th Cir.

2014).

V. The Court Should Grant Plaintiffs’ Request For A Preliminary Injunction.

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       A. The Legal Test for Preliminary Injunctions.

     Plaintiffs seek a preliminary injunction under Rule 65(a) of the Federal Rules of Civil

Procedure. The moving party bears the burden of establishing the necessity of a

preliminary injunction. Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003). This Court

outlined the relevant factors as “(1) the threat of irreparable harm to the movant; (2) the

state of balance between this harm and the injury that granting the injunction will inflict on

other parties litigant; (3) the probability that movant will succeed on the merits; and (4)

the public interest.” Doc. 50 at 5-6 (citation omitted). “No single factor in itself is

dispositive; in each case all of the factors must be considered to determine whether on

balance they weigh towards granting the injunction.” Id. (citation omitted).

       B. Plaintiffs are Likely to Prevail on Their Claim That HB 1369 Violates the
          14th Amendment’s Equal Protection Clause by Placing Severe Burdens on
          Native Americans’ Right to Vote.
     “[R]ational restrictions on the right to vote are invidious if they are unrelated to voter

qualifications. Crawford, 553 U.S. at 189 (internal citation omitted). For evenhanded

restrictions that are not invidious, a court must still “weigh the asserted injury to the right

to vote against the precise interests put forward by the State as justifications for the

burden imposed by its rule.” Id. at 190 (internal citation omitted). As this Court observed,

“[t]here is not a litmus test for measuring the severity of a burden a state law imposes on

voters, but any burden must be justified by relevant and legitimate state interests

sufficiently weighty to justify the limitation.” Doc. 50 at 7 (internal citations omitted). This

Court must simply “make the ‘hard judgment’ required after evaluating both the burdens

placed upon Native American voters by North Dakota voter ID requirements, and North

Dakota’s justifications for imposing those requirements.” Id. Here, because the burden on

the right of some to vote is so severe, the State’s regulation must be “narrowly drawn to

advance a state interest of compelling importance.” Burdick v. Takushi, 504 U.S. 428, 434

(1992).
              1. HB 1369 makes voting substantially more burdensome for Native

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                   Americans than for white North Dakotans.
     As discussed above, HB 1369 continues to lack a “fail-safe” mechanism for voters who

cannot obtain a valid ID through reasonable effort. Thousands of Native Americans lack

qualifying voter ID. Moreover, 48.7% of Native voters who lack the qualifying ID lack the

supplemental documentation as well. See supra, Section III(B). For those citizens to ever

vote again, they will have to overcome significant burdens. As this Court noted, “you need

an ID to get an ID.” Doc. 50 at 10. Some IDs and the underlying documentation to get an ID

are not free. Hence, many North Dakotans will have to pay fees to secure the right to vote,

which the Supreme Court has held to be per se unconstitutional. Burdick, 504 U.S. at 434

(citations omitted).

     The burdens placed on Plaintiffs Brakebill, Elvis Norquay, Vivier, and others similarly

situated, are severe. See generally Brakebill Decl.; E. Norquay Decl.; Vivier Decl. The time

needed to navigate through government bureaucracies to obtain the necessary

documentation, the cost of travel, and the costs associated with taking time off work are no

small matters for many citizens. These hurdles are disproportionately born by Native

American voters because the disparities recognized by this Court with respect to poverty,

unemployment, homelessness, education levels, access to transportation, etc. still remain.

Doc. 50 at 7-16; see, supra, Section III(E).

               2. No compelling state interest necessitates HB 1369.
     In its Motion, Defendant alleges the State has an interest in preventing voter fraud,

aligning its ID requirements with those of HAVA, and promoting voter confidence. Doc. 81

at 19-20. Sprinkled throughout its Motion, Defendant also argues an interest in establishing

voters’ qualifications without imposing upon them a burden to register, responding to

changing demographics, and establishing an elector’s current residential address. None of

these purported interests justifies HB 1369.

               a) Defendant’s interest in preventing fraud does                    not   justify
                  disproportionately burdening Native American voters.

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       Plaintiffs do not dispute North Dakota has an interest in “protecting the integrity and

reliability of the electoral process” and in “deterring and detecting voter fraud.” Crawford,

553 U.S. 181. However, the State cannot severely burden and discriminate against Native

Americans voters just to meet this interest. Instead, the State must narrowly draw any

regulation to advance a compelling state interest. Burdick, 504 U.S. at 434. The State fails to

meet that burden with respect to HB 1369.

       Defendant’s position is especially meritless in view of the fact that for decades, voter

fraud has essentially been non-existent in North Dakota. See supra, Section II(A) & (F). In its

Motion, Defendant attempts to show that fraud can occur and might have occurred as a

result of the use of the affidavit “fail-safe” system. But as discussed above, Defendant’s

arguments rely entirely on speculation and hypotheticals, and are belied by the Defendant’s

“acknowledge[ment] in 2006 that he was unaware of any voter in North Dakota.” Doc. 50

at 22. Defendant has failed to show there is any fraud problem in North Dakota, let alone a

significant enough problem to justify extreme voter suppression laws.

               b) Defendant’s desire to forgo voter registration does not justify
                  burdening and disenfranchising Native Americans.
       Defendant takes issue with its affidavit “fail-safe” method that the Court adopted,

which was previously used by the State for many years, because it purportedly results in

the State combining affidavit ballots with the rest of the ballots without verification. Doc.

81 at 6. To the contrary, requiring voters who cannot obtain voter ID with reasonable effort

to sign an affidavit under penalty of a class C felony 9 provides sufficient verification.
Further, the “potential” problem Defendant speculates about is nothing more than

speculation. North Dakota is free to fashion whatever election system it desires, including a

system that does not require voter registration. However, the State cannot adopt a scheme


   9  Through HB 1369, the state raised the penalty for voter fraud to a class C Felony.
During deliberations, this was criticized. Hearing on HB 1369 (Feb. 2, 2017 statement of
Rep. Jon Nelson).

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that disproportionately burdens Native Americans. The affidavit system adopted by this

Court provides qualified Native electors who cannot reasonably obtain identification with

relief from a system that requires that identification in order to vote.

     Defendant also fails to note that, in most states, registration does not require ID. In

fact, registration does not require much at all. As Deputy Secretary Silrum explained in a

recent email, North Dakota’s ID requirements under HB 1369 are much more stringent

than states with registration:

        this type of voter ID system is much better than voter registration since the
        use of [voter registration] would simply push the determination of
        qualifications to the point at which an individual registers. From what I have
        seen, many state’s [sic] laws don’t allow them to do much vetting of the
        qualifications of electors at the time of registration, so what good is it to
        register someone if there is no way to determine if they meet the
        qualifications to be registered for that precinct.” E-mail from Jim Silrum,
        Deputy of Secretary of State, to Hans von Spakovsky, Senior Legal Fellow at
        Heritage Foundation (Feb. 3, 2017, 8:04 AM) attached as Exhibit 16
        (emphasis in original).
     Defendant also argues that this Court erred in comparing affidavit systems in North

Dakota with those in other states, asserting that “any comparison of North Dakota’s process

to another state’s registration process is necessarily flawed because an affidavit in a

registration state serves an entirely different purpose than it serves in a non-registration

state.” Doc. 81 at 21. Defendant then proceeds to survey states that have an affidavit fail-

safe method but asserts that because these states also require registration, they are,

purportedly, not appropriate for comparison. Id. at 21-25. Yet Defendant’s survey is

unremarkable because all states other than North Dakota require registration, but none of

them requires a residential street address to register or qualify to vote. 10 However, states

   10 See Register To Vote In Your State By Using This Postcard Form and Guide, U.S. Election
Assistance Commission, https://www.eac.gov/assets/1/6/Federal_Voter_Registration_9-
21-17_ENG.pdf (last visited Feb. 16, 2018); Idaho Voter Registration Form, Idaho Secretary
of State, https://sos.idaho.gov/elect/VoterReg/voter_registration.pdf (last visited Feb. 16,
2018); Voter Registration, IN.gov, http://www.in.gov/sos/elections/2403.htm (providing a
link to the registration form that does not require a residential street address); Louisiana
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with functioning affidavit systems are still valuable to the analysis of North Dakota’s

affidavit system. The fact that fraud does not occur in other states with affidavit systems is

probative because it suggests that an ID card is not the only way in which an elector can

identify her or himself, and that taking someone at their word under penalty of perjury

sufficiently identifies an elector for the purposes of voting. The reason the North Dakota

Legislature increased the penalty for voter fraud in HB 1369 to a remarkably harsh class C

felony was to deter this exact activity. Hearing on HB 1369, supra. The fact that fraud can,

in theory, occur under North Dakota’s system does not change the fact that affidavit

systems have generally proven trustworthy. Indeed, Texas and North Carolina have

employed affidavit systems to remedy burdensome ID laws.

     Finally, it is especially suspect that Defendant would take issue with the affidavit

system that existed for years prior to HB 1332. In 2011, in considering HB 1447, the

Legislature extensively debated whether the threat of fraud under the affidavit system

merited revision. See supra, Section II(B). The Legislature rejected any modifications on a

bipartisan basis. Id. It was not until after Senator Heitkamp’s election (and the perception

that Native Americans provided the decisive votes in favor of Heitkamp) that the

Legislature, in the next session, through an unusual process, chose to abolish the affidavit



Voter        Registration      Application,     Louisiana        Secretary       of     State,
https://www.sos.la.gov/ElectionsAndVoting/PublishedDocuments/ApplicationToRegister
ToVote.pdf (last visited Feb. 16, 2018); State of Michigan Voter Registration Application,
Michigan                        Secretary                        of                     State,
https://www.michigan.gov/documents/MIVoterRegistration_97046_7.pdf (last visited
Feb. 16, 2018); North Carolina Voter Registration Application, North Carolina State Board of
Elections                      &                      Ehtics                     Enforcement,
https://www.ncsbe.gov/Portals/0/Forms/NCVoterRegForm06W.pdf;
https://www.scvotes.org/files/VR_Blank_Form.pdf. (last visited Feb. 16, 2018); South
Carolina Voter Registration Mail Application, South Carolina Election Commission,
https://www.scvotes.org/files/VR_Blank_Form.pdf (last visited Feb. 16, 2018) (providing a
link to the registration form that does not require a residential street address).



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system upon which Native Americans disproportionately relied. See supra, Section II(C).

And now, following Native Americans’ significant reliance on the affidavit system in the

2016 election, see supra, Section II(E), and despite repeated warnings that HB 1369 would

disproportionately burden Native Americans, See supra, Section II(C)&(G), Defendant has

again targeted the one part of the election law that Native Americans disproportionately

rely upon. N.C. State Conference of NAACP v. McCrory, 831 F.3d 204, 215 (4th Cir. 2016)

(“[T]he State took away [minority voters'] opportunity because [they] were about to

exercise it . . . this bears the mark of intentional discrimination.”) (citation and quotation

omitted); see Doc. 77 at 79, 84. Defendant is free to modify any parts of its process for

verifying electors, including instituting or modifying a registration system, as long as it

does not lead to disparate outcomes. HB 1369 leads to disparate outcomes.

              c) Defendant’s interest in preserving voter confidence does not justify
                 disproportionately burdening Native American voters.
     Much of the hysteria about the possibility of voter fraud arising from North Dakota’s

voter system is manufactured by Defendant’s own speculative, unproven assertions about

fraud. Defendant’s only evidence of lack of voter confidence is an article written by a

conservative blogger, who admits these laws are “prohibitive to groups like the poor and

the elderly” and notes an “outreach” program may be needed. Doc. 81 at 12; Rob Port, We

Have No Idea If Voter Fraud Changed the Outcome of Some North Dakota Elections,

SayAnythingBlog (Sept. 12, 2017), https://www.sayanythingblog.com/entry/no-idea-
voter-fraud-changed-outcome-north-dakota-elections/. Defendant has not pointed to

anyone “abstaining from voting out of concern for voter fraud[.]”Abbott, 830 F.3d at 263. In

fact, the opposite is likely true. Participation in elections carries costs for voters, with

greater costs generally leading to lower rates of participation. Webster Rep. ¶¶ 10, 33.

Increased burdens that decrease turnout decreases confidence in the electoral system. See

Abbott, 830 F.3d at 263. Indeed, North Dakota used the affidavit system until 2012.

Defendants have shown no evidence that public voter confidence ever wavered as a result

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of the availability of that system. In contrast, Plaintiffs have submitted significant and

unchallenged evidence of disenfranchisement and severe burdens caused by the new

system.
              d) Changes in demographics do not justify disproportionately
                 burdening Native American voters.
     Defendant laments the “unique challenges in ensuring the integrity of its elections due

to the more mobile, diverse, and transient population,” and asserts that in recent years
North Dakota gained 85,000 residents. Doc. 81 at 9. Defendant asserts this increase is

higher in minorities and therefore it is impossible to implement a voucher fail-safe

mechanism. Doc 81 at 9.

     An increasingly diverse population may necessitate changes to a state’s election

system. For example, increasing the types of ID available (such as out-of-state licenses) and

allowing supplemental documentation without an ID as an option may be necessary to

ensure that all recently arrived qualified electors have a fair opportunity to vote. But

Defendant’s unsubstantiated assertion that a poll-voucher “fail-safe” would no longer be

acceptable because it would raise the State’s liability mischaracterizes the nature of

Constitutional challenges in the context of voting rights. Doc. 81 at 10. For example, not all

voters are elderly, yet the presence of a long-term care certificate does not impinge upon

the rights of all non-elderly electors. Likewise, a voucher system that could be widely

utilized would not pose an equal protection/discrimination problem. See Abbott, 830 F.3d

at 279 , cert. denied, 137 S. Ct. 612, 197 L. Ed. 2d 78 (2017) (“There is a difference between

making voting harder in ways that interact with historical and social conditions to

disproportionately burden minorities and making voting easier in ways that may not

benefit all demographics equally (like motor-voter). The former can be characterized as

‘abridging’ the right to vote; the latter cannot.”) (emphasis in original) (internal citations

omitted).

     Defendant also declares 4,849 affiants listed an address in another state as their


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former residence. Doc. 81 at 9. But voters coming from another state can legally vote in

North Dakota if they become North Dakota residents. Defendant offers no evidence that

these 4,849 voters were not qualified North Dakota voters, and it is irrelevant where these

voters used to reside.

     The changing population in North Dakota is not a legal justification to substantially

burden the right to vote.

              e) Establishing an elector’s current residential address does not justify
                 disproportionately burdening Native American voters.
     Defendant goes to great lengths to show that establishing a voter’s residential address

is necessary to ensure the voter is given the proper ballot, because different localities need

different ballots. See Arnold Aff., ¶ 13 & Exhibits A1-A53. Plaintiffs do not dispute the

importance of ensuring a voter receives a proper ballot. However, Defendant does not

show why one must provide documentary proof of a residential address to ensure one

receives the proper ballot. For example, Defendant fails to explain why a voter pointing to a

map to show where they live would not suffice to provide the poll worker with sufficient

information to provide the proper ballot to the voter. Such an informal approach has

worked well in Arizona and Virginia. See generally Arizona Voter Registration Form, Arizona

Secretary of State, https://www.azsos.gov/sites/azsos.gov/files/voter_registration_form.pdf (last
visited Feb. 16, 2018) (allowing a person registering to vote to provide, as an alternative to

a residential address, “[description of] residence location, using mileage, cross streets,

parcel #, subdivision name and lot, or landmarks”); Virginia Voter Registration Application,

Virginia                       Dep’t                         of                       Elections,

https://www.elections.virginia.gov/Files/Forms/VoterForms/VoterRegistrationApplication.pdf

(last visited Feb. 16, 2018) (including check-boxes for voters who cannot provide an address

because, inter alia, their “residence address is not serviced by the U.S. Postal Service or I am

homeless” (emphasis in original)). Box C of the National Mail Voter Registration Form

provided by the U.S. Election Assistance Commission shows that every registration state

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allows voters to draw a small map showing where they reside if they do not have a

residential address. Election Assistance Commission, supra.

     And, as discussed above, it may be impossible for some Native American voters who

do not have a residential address to comply with this requirement (which only North

Dakota requires), because there may not be 911 addressing where they live or it may not

be up to date on their homes. See supra, Section III(C).

              f) HB 1369 does not satisfy Defendant’s interest in aligning North
                 Dakota’s ID requirements with those of HAVA.
     Defendant makes much of the fact that the supplemental documentation allowed

under HB 1369 consists of the same documents that an elector can use to register to vote

under the Help America Vote Act (“HAVA”). 52 U.S.C. § 21083(b)(2)(A)(i). HAVA, however,

allows a voter to register with either a photo ID or a supplemental document. HB 1369, on

the other hand, still requires that an elector possess one of a few types of ID cards;

supplemental documents alone are not sufficient. Therefore, HB 1369 does not “align[]” the

State’s “election provisions with those of federal law under HAVA” as Defendant claims,

Doc. 81 at 14; rather, it imposes a stricter burden than HAVA requires. Therefore, HB

1369’s seeming similarity to with HAVA does not support HB 1369’s burdensome and

discriminatory effects.

       C. Plaintiffs Are Likely to Prevail on Their Facial and As Applied Claim That
          HB 1369 Unconstitutionally Defines Residence and Requires Qualifying IDs
          to have a Residential Street Address.
     The equal protection clause applies when a state either disenfranchises voters by

fixing voter qualifications that invidiously discriminate, or places restrictions on the right

to vote that are not justified by a significantly weighty state interest. Harper v. Va. State Bd.

of Elections, 383 U.S. 663, 665 (1966); see also Crawford, 553 U.S. at 188. “[S]tatutes

granting the franchise to residents on a selective basis always pose the danger of denying

some citizens any effective voice in the governmental affairs which substantially affect



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their lives.” See Kramer v. Union Free Sch. Dist. No. 15, 395 U.S. 621, 626-267 (1969).

However, “[a] governmental entity is not justified in excluding otherwise qualified voters

who have no way of making themselves eligible to vote.” Collier v. Menzel, 176 Cal. App. 3d

24, 33 (Cal. Ct. App. 1985) (citations omitted) (referring to homeless denied voting because

they lacked a residential address); see also Pitts v. Black, 608 F.Supp. 696, 699 (S.D.N.Y.

1984) (citations omitted). Classifications that deny the right to vote based on an interest in

property are unconstitutional because having an interest in property does not relate to

voter qualifications. Kramer, 395 U.S. at 631-33 (discussing the denial of the vote to those

that are not property tax payers). If a challenged statute denies the franchise to citizens

who are bona fide residents, strict scrutiny applies. Dunn v. Blumstein, 405 U.S. 330, 334-

337 (1972) (holding that durational residence requirements of “one year or even three

months” were unconstitutional); Evans v. Cornman, 398 U.S. 419, 421 (1970) (holding that

state could not deny the franchise to residents of federal enclave within state boundaries.).

North Dakota’s definition of “residence” and requirement that every qualifying voter have a

qualifying ID that has a current “residential street address” cannot withstand strict

scrutiny. N.D. Cent. Code § 16.1-01-04.1(2)(b).

     North Dakota defines residence as “an actual fixed permanent dwelling,

establishment, or any other abode to which the individual returns when not called

elsewhere for labor or other special or temporary purposes.” N.D. Cent. Code § 16.1-01-

04.2(1). The plain language of North Dakota’s definition of “residence” requires that a

person reside or have an interest in a permanent building or structure in order to have a

legal residence that qualifies them to vote. Black’s law dictionary defines “dwelling-house,”

(which it notes is synonymous with “dwelling”) as “the house or other structure in which

one or more people live; a residence or abode.” Dwelling House, Black's Law Dictionary

(10th ed. 2014). An “establishment” is “an institution or place of business.” Establishment,

Black's Law Dictionary (10th ed. 2014). A “fixed abode” is a “permanent home or place of

residence.” Fix Abode, Black’s Law Dictionary (10th ed. 2014).

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     By defining residence this way and requiring a “residential address” on a voter’s ID or

supplemental documentation, North Dakota is denying electors who are homeless, lack a

physical address, or are precariously housed, their right to vote, without an ability to cure.

Collier, 176 Cal.App. 3d at 33 (citations omitted) (finding homeless were unconstitutionally

denied their right to vote because they lacked a residential address); Pitts, 608 F.Supp. at

699 (citations omitted).

     California and New York – whose residential requirements were found

unconstitutional – echoed North Dakota’s definition of “residence” that precludes those

that do not have a residential address, or homeless people who do not live in a fixed or

permanent home, from being considered qualified electors. Pitts, 608 F. Supp. 696, 698

(S.D.N.Y. 1984) (defining residence as “that place where a person maintains a fixed,

permanent and principal home and to which he, wherever temporarily located, always

intends to return.”); Collier v. Menzel, 176 Cal. App. 3d 24, 31, 221 Cal. Rptr. 110 (Ct. App.

1985). This Court should likewise find that North Dakota’s definition of residence is too

narrow.

     Defendant admits North Dakota’s current population is “mobile and transient.” Doc.

81 at 9. Indeed, Plaintiffs have shown Native Americans are mobile and transient, often

living in overcrowded homes, are “precariously housed,” and disproportionately homeless.

See supra, III(E)(5). A Native American without a residential address, or homeless person,

would not be able to supply the necessary documentation for proof of residence. For

example, Plaintiff Elvis Norquay was recently homeless and has moved three times over the

last six months to various temporary residences. 2018 E. Norquay Decl. 2-3. Lucille Vivier

was denied the right to vote even though she had a tribal ID with her residential address.

2018 Vivier Dec. ¶¶ 21-22. Richard Brakebill and Dorothy Herman were denied the right to

vote because their tribal IDs did not have a residential address. Doc. 43 at 18; 2018

Brakebill Decl.¶ 6. The LIHEAP Director at Turtle Mountain confirmed that some utility

bills will only contain a P.O. Box, not a residential street address. Frederick Decl. ¶ 12.

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     The Defendant argues that the 311 voters in the largest population centers that used

the UPS as their address were likely committing fraud. Doc. 81 at 7. However, Defendant

does not specify whether this location is “a gathering place for homeless persons.” Collier,

176 Cal. App. 3d 24. Today, if Defendant’s Motion is granted, a qualified elector who shows

up to vote with an ID or a supplemental document without a residential address will be

denied the right to vote. Because those who do not have a residential address, but are

otherwise eligible electors, cannot vote, this requirement is a discriminatory denial of the

vote and is subject to strict scrutiny.

     North Dakota does not have a compelling interest to deny qualified voters the right to

vote in this way, nor is the statute narrowly tailored. Defendant’s reason for requiring a

residential address—to ensure that voters receive the proper ballots—is easily remedied

by allowing a person to point out where they live on a map or describe where they live as

all registration states allow. See supra, Section V(B)(2)(b) (describing how states register

voters without residential addresses). As such, North Dakota’s requirement that an elector

have an interest in property and/or reside in a permanent structure that has a residential

address, and that it be identified on an ID or supplemental document, is facially

unconstitutional, as well as unconstitutional as applied to the Plaintiffs.

       D. Plaintiffs are Likely to Prevail On Their Claims That HB 1369 Violates
          Section 2 of the Voting Rights Act.
     Section 2 forbids any “voting qualification or prerequisite to voting standard, practice,

or procedure . . . which results in a denial or abridgement of the right of any citizen . . . to

vote on account of race or color.” 52 U.S.C. § 10301(a). It “applies to any ‘standard, practice,

or procedure’ that makes it harder for an eligible voter to cast a ballot, not just those that

actually prevent individuals from voting.” Ohio State Conference of NAACP v. Husted, 768

F.3d 524, 552 (6th Cir. 2014), vacated as moot, No. 14-3877, 2014 WL 10384647 (6th Cir.

Oct. 1, 2014). Section 2 voter ID claims are evaluated under a two-part framework:



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       (1) [T]he challenged standard, practice, or procedure must impose a
       discriminatory burden on members of the protected class, meaning that
       members of the protected class have less opportunity than other members of
       the electorate to participate in the political process and to elect
       representatives of their choice, and

       (2) [T]hat burden must in part be caused by or linked to social and historical
       conditions that have or currently produce discrimination against members of
       the protected class.
     Abbott, 830 F.3d at 244 (citing League of Women Voters of N.C. v. North Carolina, 769

F.3d 224, 240 (4th Cir. 2014)). In “assessing both elements, courts should consider ‘the

totality of the circumstances.’” League of Women Voters N.C., 769 F.3d at 240. In analyzing

the “totality of the circumstances,” “courts have looked to certain ‘typical’ factors pulled

directly from the Voting Rights Act’s legislative history.” Id. These nine factors are called

the “Senate factors.”

              1. HB 1369 imposes a discriminatory burden on Native Americans.

     As detailed above, HB 1369 imposes a discriminatory burden on Native Americans.

Among other things, Native Americans disproportionately lack necessary ID, supporting

documentation, and the economic resources to get IDs, have to travel further to obtain ID,

lack residential addresses, and have less access to transportation. See supra, Section III(E).

Because the requirements imposed by HB 1332 and HB 1333 were especially burdensome

for Natives to satisfy, Native Americans disproportionately relied on the affidavit “fail-safe”

adopted by this Court during the 2016 election. Barreto Decl. at 25-26.            HB 1369’s

attempted abolition of the affidavit “fail-safe” mechanism and its attempt to reimpose the

suppressive requirements of HB 1332 and 1333, disproportionately burdens Native

Americans. See supra, Section II(H). Moreover, contrary to Defendant’s assertions, HB 1369’

“set-aside” system does not provide any meaningful fail-safe to Native American voters. Id.

              2. The discriminatory burden is caused by and linked to social and
                 historical factors
     Seven of the nine Senate factors are relevant here, and support Plaintiffs’ motion.



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     Senate factor 1: North Dakota has a long history of voting-related

discrimination. As detailed in Plaintiffs’ first Motion for Preliminary Injunction, North

Dakota has a long history of voting-related discrimination. Doc. 43 at 25. That history – of

“[s]ystemic discrimination”; subjection to racial slurs; and laws that only allowed “civilized”

Native Americans to vote – endures. Id. As recently as 2010, this Court entered a

preliminary injunction enjoining the closing of polling locations used by the Spirit Lake

Tribe referencing the “historic pattern of discrimination suffered by members of the Spirt

Lake Tribe.” Spirit Lake Tribe v. Benson Cty., N.D., No. 2:10-cv-095, 2010 WL 4226614, at *3

(D.N.D. Oct. 21, 2010). Most recently, North Dakota passed arguably the most restrictive

voter ID laws in history after Senator Heitkamp was elected purportedly based on carrying

the Native vote, and again in 2017 despite being warned of the harsh effects the law would

have on Native voters. As discussed in more detail under Senate Factor 3 below, the history

is not just part of the ancient past.

     Senate factor 2: Voting in North Dakota is racially polarized. Native Americans in

North Dakota vote in a racially polarized manner, favoring Democratic candidates. See

supra, Section II(C). This trend was dramatically demonstrated when the Native American

vote was widely credited with securing Senator Heitkamp’s election in 2012. Id. According

to Plaintiff’s expert Michael Herron’s updated report: “2012, 2014, and 2016 General

Elections in North Dakota, are consistent with the key conclusion from my original

declaration, dated June 18, 2016, that there has been racially polarized voting in North

Dakota and, in particular, that Native American voters in the state support Democratic

candidates at higher rates than white voters.” Herron Decl. at 17.

     Senate factor 3: North Dakota has used voting practices or procedures to

enhance the opportunity for discrimination against Native Americans. HB 1332 and

HB 1333 were passed in the wake of a narrowly decided election where many believe the

Native American vote was a decisive factor. See supra, Section II(D). See e.g., N.C. State

Conference of NAACP v. McCrory, 831 F.3d 204, 215 (4th Cir. 2016) (“[T]he State took away

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[minority voters'] opportunity because [they] were about to exercise it . . . this bears the

mark of intentional discrimination.”) (internal citation omitted).

     Through these laws, the Legislature took care to prohibit the use of identification that

listed P.O. boxes on voter’s IDs and instead required a residential address that the

Legislature knew many Native Americans did not have. See supra, Section II(B). The

enactment of HB 1332 was especially suspicious because the Legislature had just debated,

in the previous Legislative session, whether to pass a similarly restrictive voter ID law and

had resoundingly voted not to. Id. Additionally, the hoghouse procedure used to pass HB

1332 was unusual and stifled debate. See supra, Section II(D). Thus, the North Dakota

legislature used its voting laws to discriminate against Native Americans as evidenced by

the suspect timing of the passage of HB 1332; the insertion of a residential address

provision that the Legislature knew would negatively impact Native Americans; and the

Legislature’s deviation from its previous conclusions and the normal course of legislative

procedure.

     In the wake of HB 1332 and HB 1333’s suppressive effects on the Native vote, this

Court acknowledged “North Dakota’s . . . Voter ID Laws Have Disenfranchised Native

American Voters.” Doc. 50 at 16. Consequently, this Court held that HB 1332 and HB 1333

violate the Equal Protection Clause of the U.S. Constitution due to the lack of “fail-safe”

mechanism for voters without ID. Id. at 20-22.

     The Legislature brazenly disregarded this Court’s order and again used its voting

practices to discriminate against Native Americans through passage of HB 1369. The

Legislature was warned explicitly about the discriminatory impact of HB 1369 on Native

American voters through testimony provided by the Native American Rights Fund.

Contemporaneous to its passage, lawmakers expressed skepticism it would meet this

Court’s mandate that the law provide a “fail-safe.” See supra, Section II(G); Doc. 50 at 22.

Despite making additional accommodations for military persons, and continued

accommodations for the assisted living elderly and disabled, the Legislature failed to

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consider the impact of the bill on Native Americans. The Legislature also did not conduct

any studies or reach out to the North Dakota tribes to see if the law would impact their

communities. Faith Decl.¶ 4; Pearson Decl.¶ 5. Instead, they forged ahead with their

forgone conclusion: there would be no “fail-safe” and the efforts to suppress the Native vote

would continue.

     Finally, HB 1369 was introduced during an “atmosphere of heightened racial

tensions” following large demonstrations by Native Americans and allies in protest of the

Dakota Access Pipeline (“DAPL”). McCool Decl. at 8-11. At least eight bills were introduced

in response to the protestors, such as making it a felony to cause economic harm while

committing disorderly conduct (HB 1193) and making it unlawful not to vacate an area,

even public property, if ordered to do so by police (SB 2246). McCool Decl. at 9-11 (those

particular bills did not pass). Rep. Al Carlson introduced legislation proposing six state-

regulated casinos, which was widely seen as “retaliatory” against Native Americans who

were supportive of DAPL. McCool Decl. at 11-12 (the bill did not pass). Rep. Carlson also

sponsored HB 1369. Id.

     Senate factor 5: The ability of Native Americans to vote is hindered by the

effects of past discrimination in the areas of education, employment, and health. As

detailed in Plaintiffs’ 2016 Motion for Preliminary Injunction, the ability of Native

Americans living in North Dakota to vote is hindered by the effects of past discrimination in

the areas of education, employment, and health. Doc. 43 at 31. Dr. Dan McCool has

confirmed that Native Americans remain hindered concluding “the same limitations I

described in my previous report – the poverty, lack of computer access, distance from

government office, poor transportation, etc. – all still operate to disadvantage Native

Americans in the political process.” McCool Decl. 23; see also Spirit Lake Nation

Comprehensive     Community      Assessment,    supra.   (detailing   disparate   education,

employment, and health statistics on the Spirit Lake reservation).

     Senate factor 7: Native Americans are not fairly represented in elective offices

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in North Dakota. As detailed in Plaintiffs’ 2016 Motion for Preliminary Injunction, Native

Americans are not fairly represented in elective offices in North Dakota. Doc. 43 at 33-34.

“In districts characterized by the Indian Affairs Commission as ‘Tribal Districts,’ only one of

the 24 elected legislators is Native American . . . only one Native American appears on a

state produced list of 42 representatives of districts ‘on/around’ American Indian

reservations.” Doc. 43 at 33. Dr. McCool has confirmed that Native Americans remain

hindered by these past discriminatory effects. McCool Decl. at 23.

       Senate factor 8: North Dakota’s elected officials have not been responsive to the

needs of Native Americans. As detailed in Plaintiff’s 2016 Motion, North Dakota’s elected

officials have not been responsive to the needs of Native Americans. Doc. 43 at 33.

       Indeed, HB 1332 and HB 1333 demonstrate that the Legislature has acted adverse to

Native American interests since they placed disproportionate burdens on Native

Americans. Doc. 50 at 20. And, after being extensively warned about HB 1369’s

discriminatory impacts, the Legislature failed to reach out to any of the tribes to discuss the

potential effects of the bill, and passed HB 1369 anyway. Faith Decl. ¶ 4-5; Pearson Decl. ¶

5-6.

       Due to lack of representation and political clout, Native Americans continue to exist in

a class unto themselves, with disproportionately high poverty rates, worse health

outcomes, and higher rates of homelessness. See supra, Section III(E).

       Senate factor 9: The Policy Underlying the Law is Tenuous. As described

extensively above, North Dakota has provided no sound basis for the new voter ID laws.

Voter fraud has not increased - it remains virtually non-existent. See supra, Section II(F).

Compliance with HAVA does not mandate HB 1369’s strict identification requirement. Id. at

II(G). And Defendant’s fears of a lack of confidence in North Dakota’s voter system are not

supported by any evidence. Id. at II (F). There is no sound basis for the new voter ID law,

and all that remains is that Native American voters predominantly vote for the Democrat

party and given some recent success, they are now being penalized for it.

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       E. Plaintiffs Will Suffer Irreparable Injury Without Preliminary Injunctive
          Relief
     In the 1886 case of Yick Wo v. Hopkins, the U.S. Supreme Court stated that “the

political franchise of voting” is “a fundamental political right, because [it is] preservative of

all rights.” 118 U.S. 356, 370 (1886). When constitutional rights such as the right to vote

“are threatened or impaired, irreparable injury is presumed.” Obama for Am., 697 F.3d 423,

436 (6th Cir. 2012). As the court in Spirit Lake Tribe v. Benson County, stated:

       Once a citizen is deprived of his right of suffrage in an election there is
       usually no way to remedy the wrong. There is no process for ordering ‘re-
       votes’ in Congressional or legislative elections. Once an election is over, it is
       over and it is little consolation to say that the problem will be remedied in
       the next election.
No. 2:10-cv-095, 2010 WL 4226614, at *5 (D.N.D. Oct. 21, 2010).

     As the evidence shows, Plaintiffs have been disenfranchised before, and their right to

vote is again threatened due to North Dakota’s strict voter ID law. Lucile Vivier was

disenfranchised even though she had a proper ID, showing harm is threatened. Vivier Decl.

¶ 20. The right to vote of many other citizens is also threatened if the Court does not enjoin

these laws. As such, Plaintiffs have satisfied the irreparable injury element.

       F. The Balance of Hardships Weighs in Favor of Preliminary Injunctive Relief
     Without preliminary injunctive relief, thousands of North Dakota Native American

electors (and other North Dakota citizens) are at risk of being denied their right to

participate in the upcoming 2018 elections, which will constitute a permanent and

irreversible injury. Because there is little or no evidence of voter fraud in North Dakota,

North Dakota will suffer no hardship if the Court issues injunctive relief and mandates a

“fail-safe” mechanism for voters who cannot obtain ID or supplemental documents with

reasonable effort. Further, Plaintiffs have made this motion early enough to allow the State

to obtain the Court’s decision before training any of its election workers for this year’s

election. Thus, the State will suffer no prejudice by having to re-train election workers.



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       G. Preliminary Injunctive Relief Will Serve the Public Interest
     Voting is itself a public good—it is “a fundamental political right, because [it is]

preservative of all rights.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). The public has a

strong interest in protecting all eligible citizens’ right to vote. See Obama for Am., 697 F.3d

at 436-437 (internal citation omitted). The “public interest . . . favors permitting as many

qualified voters to vote as possible.” Id. at 437. (internal citation omitted). The public

interest will be served by the issuance of a preliminary injunction that will ensure that all

eligible electors, including Native American voters, have the opportunity to vote. In sum,

the underlying “dispositive” issue remains—HB 1369 fails to provide a “fail-safe” voting
mechanism for those voters who cannot obtain ID with reasonable effort. Doc. at 55, 1-2,

22. Defendants provide no evidence that the disproportionate burdens on Native

Americans this Court previously found have been relieved by HB 1369. Consequently, this

Court should deny Defendant’s motion to dissolve and grant Plaintiffs’ motion for

preliminary injunction.

VII. Conclusion

     For the foregoing reasons, Plaintiffs respectfully request that the Court: 1) deny

Defendant’s Motion to Dissolve and grant Plaintiffs’ Motion for Preliminary Injunction; 2)

find Defendant’s enforcement of HB 1369 would violate Section 2 of the Voting Rights Act

and the Equal Protection Clause of the U.S. Constitution; 3) find Defendant’s enforcement of

HB 1369 voter ID requirements relating to residency requirements would be facially

unconstitutional as well as unconstitutional as applied to Plaintiffs; and 4) enjoin

Defendant from enforcing HB 1369 without adequate fail-safe provisions, such as an

affidavit for voters who cannot obtain qualifying ID, supplemental documents, or a

residential address with reasonable effort.




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Dated: February 22, 2018            Respectfully submitted,

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        Richard Brakebill, et al. v. Alvin Jaeger, Case No. 1:16-cv-0008
       Corrected Memorandum ISO Motion for Preliminary Injunction
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2018, the document titled “Plaintiffs’
Corrected Memorandum in Support of Second Motion for Preliminary Injunction and
Response to Defendant’s Motion to Dissolve Preliminary Injunction” was
electronically filed with the Clerk of Court through ECF, and that ECF will send a Notice of
Electronic Filing (“NEF”) to:

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